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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                  No. 4:12CR00126-02 JLH

LARIN LOCKHART

                                             ORDER

       The parties have filed a joint motion to amend the plea agreement and presentence report.

The parties previously stipulated that the loss amount was between $30,000 and $70,000. After

further investigation, the parties agree that the amount of loss is between $10,000 and $30,000. The

plea agreement is amended accordingly. The Court directs the author of the presentence report to

revise the presentence report to reflect the new stipulation regarding the loss amount. The joint

motion is therefore GRANTED. Document #97.

       IT IS SO ORDERED this 21st day of August, 2013.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
